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City, State, Zip Code

(Failure to notify the Court of your change of address may result in dismissal of this action.)

IN THE UNITED STATES DISTRICT COURT

Case ISTRICT OF-AqgGUORs. » Cal Loontq
Seay Pracon
(Full Name of Plaintiff)
Plaintiff,
v. CASE NO. 22- CN- 000CHIo- EF BR
_ XS (To be supplied by the Clerk)
ay) Fed. Bucead of fHsone
(Full Name of Defendant)
. ¥ CIVIL RIGHTS COMPLAINT
2) Gated Stekes of America, BY A PRISONER
Xu
gy Mack (Cobtecrez
a \ XO) Original Complaint
(4) M an] (2 \ XS , i First Amended Complaint
XC Second Amended Complaint
Defendant(s).
J Check if there are additional Defendants and attach page 1-A listing them.

A. JURISDICTION

1. This Court has jurisdiction over this action pursuant to:
L] 28 U.S.C. § 1343(a); 42 U.S.C. § 1983

28 U.S.C. § 1331; 4
Other: EXcr , CS US, C. oom eo

2. Institution/city where violation occurred: Shoe tor, Ch N qe COW", KZ5 Waslaicton DL

Revised 3/11/16 1 550/ 555
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B. DEFENDANTS

1. Name of first Defendant: Ce deca\ a\ Bocead of Persons . The first Defendant is employed
as: dta\  frab\c4 at Stockton Res. Oe

Position 4nd Title) ~ institution)

2. Name of second Defendant: Wnibex Stokes of Ament &. The second Defendant is employed as:
as: or “Dee. at Soe

(Position and Title) (Institution)
3. Name of third Defendant: Mad Zottece tre . The third Defendant is employed
as: INO ABA at USP LUCSau. .
(Position and Title) (Institution)
4. Name of fourth Defendan Me Loos . The fourth Defendant is employed
as: Lo twmral Sr Sethe at LCrocktiten CAA ©
J (Position and Title) (Institution)

If you name more than four Defendants, answer the questions listed above for each additional Defendant on a separate page.

C. PREVIOUS LAWSUITS

1. Have you filed any other lawsuits while you were a prisoner? LI No

2. If yes, how many lawsuits have you filed? (ODgus . Describe the previous lawsuits:

a. First prior lawsuit:
1. Parties: Vv.
2. Court and case number:
3. Result: (Was the case dismissed? Was it appealed? Is it still pending?)

b. Second prior lawsuit:
1. Parties: Vv.
2. Court and case number:
3. Result: (Was the case dismissed? Was it appealed? Is it still pending?)

c. Third prior lawsuit:
1. Parties: Vv.
2. Court and case number:
3. Result: (Was the case dismissed? Was it appealed? Is it still pending?)

If you filed more than three lawsuits, answer the questions listed above for each additional lawsuit on a separate page.
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D. CAUSE OF ACTION

COUNT I \
1. State the constitutional or other federal civil right that was violated: \e Aalt wr OC ¢ Ce st
bynencd rnoaih

2. CountI. Identify the issue involved. Check only one. State additional issues in separate counts.
L] Basic necessities CL] Mail L) Access to the court CL] Medical care
L) Disciplinary proceedings L) Property LI Exercise of religion [Retaliation
C) Excessive force by an officer J] Threat to safety L) Other:

3. Supporting Facts. State as briefly as possible the FACTS supporting Count I. Describe exactly what
each Defendant did or did not do that violated your rights. State the facts clearly in your own words without
citing legal authority or arguments.

SER \agee T Awd 20

4. Injury. State how you were injured by the actions or inactions of the Defendant(s).

SeQ Kab. 7-20

5. Administrative Remedies:

a. Are there any administrative remedies (grievance procedures or administrative appeals) available at
your institution? Yes LINo
Did you submit a request for administrative relief on Count I? f Yes CL) No
Did you appeal your request for relief on Count J to the highest level? Yes L] No
d. If you did not submit or appeal a request for administrative relief at any level, briefly explain why you

did not.

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COUNT II
\
1. State the constitutional or other federal civil right that was violated: V ¢ elak OW" of gm
fame done .

2. Count II. Identify the issue involved, Check only one. State additional issues in separate counts.
CL] Basic necessities LC) Mail CL] Access to the court A Medical care
CX Disciplinary proceedings CZ) Property C] Exercise of religion C) Retaliation
CL] Excessive force by an officer [© Threat to safety [1 Other:

3. Supporting Facts. State as briefly as possible the FACTS supporting Count II. Describe exactly what
each Defendant did or did not do that violated your rights. State the facts clearly in your own words without
citing legal authority or arguments.

Be tos, wl to J

4. Injury. State how you were injured by the actions or inactions of the Defendant(s).
See Pac, és Q\- 2]

5. Administrative Remedies.
a. Are there any administrative remedies (grievance procedures or administrative appeals) available at
your institution? Yes CL] No
b. Did you submit a request for administrative relief on Count II? Yes LI No
c. Did you appeal your request for relief on Count II to the highest level? Yes CL] No
d. If you did not submit or appeal a request for administrative relief at any level, briefly explain why you
did not.

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COUNT III
ae SNS constitutional or other federal civil right that was violated: Violakion of Eick
~<C. Alil- FO ’

2. Count III. Identify the issue involved. Check only one. State additional issues in separate counts.
L) Basic necessities CL] Mail L] Access to the court CL] Medical care
L] Disciplinary proceedings LC) Property CL] Exercise of religion CL) Retaliation
CZ Excessive force by an officer Threat to safety [ Other: Fed terk Claim

3. Supporting Facts. State as briefly as possible the FACTS supporting Count III. Describe exactly what
each Defendant did or did not do that violated your rights. State the facts clearly in your own words without
citing legal authority or eames

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\sS .teT ad Dn port tA Arwe.

4. Injury. State how you were injured by the actions or inactions of the Defendant(s).
bye ms Reh soflert M4 FISD , \acgmarton Seale

5. Administrative Remedies.
a. Are there any administrative remedies (grievance procedures or administrative app
your institution?
b. Did you submit a request for administrative relief on Count III? L1Yes LINo
c. Did you appeal your request for relief on Count III to the highest level? L] Yes L] No
d. If you did not submit or appeal a request for administrative relief at any level, briefly explain why you

did not.
[ff

If you assert more than three Counts, answer the questions listed above for each additi ount on a separate page.

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S) available at
Yes L] No

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E. REQUEST FOR RELIEF

State the relief you are seeking:

Bhiwasd DacultE #10,c60,000-00 On Coont IC against Aclerdant OSs

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menitpc bud enocce Taaiackien, | Err orate Ane st Aecaread oohurce oud
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Ponti Cs Conkack Ostttr Tyson, Bees, Own BOC fom aie

Pla TH @ Casqeuder wake prisons

I declare under penalty of perjury that the foregoing is true and correct.
Executed on Me \% — ZC CLL z

DATE GNATURE OF PLAINTIFF

(Name and title of paralegal, legal assistant, or
other person who helped prepare this complaint)

(Signature of attorney, if any)

(Attorney’s address & telephone number)

ADDITIONAL PAGES

All questions must be answered concisely in the proper space on the form. If you need more space, you may _
attach no more than fifteen additional pages. But the form must be completely filled in to the extent applicable.
If you attach additional pages, be sure to identify which section of the complaint is being continued and number
all pages.
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4) A strong desire to be of the other gender (i.e., Ms. Pinson refers to herself as
wearing make-up, and has submitted requests for gender reaffirming surgery)
5) A strong desire to be treated as the other gender (i.e., she identifies as "Grace," pigvisti

and requested staff female pat searches only) : Pipristics . .
6)A Strong IO one has the weical feelings and reactions of the other gene incongruence with one's
her through hormone treatment, her feelings and reaction :
personality has been the result of identifying and living oc a temaley been as extremested gender reaffirming surgery;

"Ghq Adults:

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igruence between one's experienced gender and primary sex charact/€rs the use of female pronouns,
3 to rid of one’s primary and/or secondary sex characteristics due to a n

© § essed gender (e.g., documented desire to remove her own testicles) *(i.e., Ms. Pinson asserts that

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ire for the primary sex characteristics of the other gender (j.e., has reque:"4 that part of the change in her
hormones and ha developed breast tissue)

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